
Greenway Medical Supply Corp., as Assignee of SERGO PREMPIN, Appellant, 
againstELRAC, Inc., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Jodi Orlow, J.), entered October 24, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that plaintiff's assignor and/or plaintiff had failed to comply with 11 NYCRR 65-2.4 (a), (b) and (c), which make it a condition precedent to coverage to provide written notice of an accident no later than 30 days after the accident and to submit written proof of claim no later than 45 days after health care supplies or services are furnished. Plaintiff opposed the motion, asserting facts and raising arguments similar to those raised by the plaintiff in Great Health Care Chiropractic, P.C. v Elrac, Inc. (48 Misc 3d 139[A], 2015 NY Slip Op 51223[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]). By order entered October 24, 2014, the Civil Court granted defendant's motion.
For the reasons stated in Great Health Care Chiropractic, P.C. v Elrac, Inc. (48 Misc 3d 139[A], 2015 NY Slip Op 51223[U]), the order is affirmed.
Solomon, J.P., Aliotta and Elliot, JJ., concur.
Decision Date: July 08, 2016










